   Case 1:14-cv-01485-GAM Document 25 Filed 09/12/12 Page 1 of 27 PageID #: 801



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                                                                     September 5, 2012

   Hon. Kathleen B. Forrest
   United States District Court
   Southern District of New York
   500 Pearl Street
   Room 15A
                                                                         l1SOCSDNV
   New York, New York                                                    DOCUMENT
   (To be filed and served by counsel of record)                         ELECTRO,NICALLY FILED
                                                                         DOC #I:~~:n-""~iA:lildl


   Dear Judge Forrest:

          I am one of Ms. Jordan's criminal defense attorneys in People v. Jordan,
   612110 (N.Y. Cty., Solomon, J.). I write to supplement ADA O'Connell's highly­
   misleading letter of August 15,2012, in which she purports to summarize the
   status and progress of the case. ADA O'Connell omits mention of her obstructing
   the normal process of discovery, which has forced the defense to engage in
   successful, but time-consuming motion practice.

         On May 15,2012, the defense investigators, continuing the process of
   inspecting evidence, made an appointment to inspect and photograph the electronic
   devices that had been seized from Ms. Jordan; the session was scheduled for June
   1,2012. On May 24, 2012, ADA O'Connell notified the defense that she would
   not permit the defense to photograph the items:

           The chain of custody protocol of the unit mandates that once removed from
           their evidence lockers, such property cannot be returned. The defense has
           asked that the property be maintained in a secure fashion, particularly since
           the BlackBerry devices are "locked." The defense knows the models and
           serial numbers of each device, and it would serve no purpose to disturb the
           chain of custody to remove them for photographs when you are able to view


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       the generic models of each item via the companys' [sic] websites. We are
       therefore unwilling to comply with your request. 1

      This was obviously absurd. There was no legal basis to preclude the defense
from exercising its rights under N.Y.C.P.L. §240.20. But defense counsel was
forced to formally move to inspect the devices, which we did on June 12,2012.
ADA O'Connell answered on June 25,2012, and on June 29,2012, by Decision
and Order, Justice Solomon granted this Court granted the defense motion, finding
the defense proposals to be "reasonable, logical, and practical ....,,2 and ordered
the photography and re-imaging be done no later than July 20, 2012·?

      ADA O'Connell continued to delay. She failed to inform her expert of the
July 20,2012 deadline; the defense informed the prosecution's expert on July 3,
2012 and immediately was informed of scheduling problems. 4

       On July 11,2012, the defense was able to photograph the electronic devices.
The defense discovered that one of the seized devices, the Apple iTouch Device,
bearing the serial number lE9470846K2, was missing. No one could provide any
explanation as to its whereabouts. 5 Six weeks were lost while ADA O'Connell
made frivolous objections that, if successful, would have prevented the defense
from discovering the loss. Finally, on August 24,2012, the defense was notified
that the item was located.

      The re-imaging of the electronic devices was set for July 17,2012. When
defense investigators arrived at the District Attorney's office, ADA O'Connell,
without any prior notice, announced a new rule that prohibited the defense from
documenting the imaging, pending further court order.6

      This latest obstruction was addressed at the July 20,2012 court session. The
Court directed both parties to simultaneously submit their positions in writing on
August 2,2012. 7 Defense counsel timely filed and the prosecution filed late, on
August 6, 2012. The matter is currently awaiting decision. While other matters


I Letter, ADA O'Connell, May 24, 2012; Exhibit A.
2 Decision  and Order, June 29, 2012; Exhibit B.
3 Tr., June 29, 2012, at 10, 18; Exhibit C.
4 Letter, Ronald L. Kuby, July 10. 2012; Exhibit D.
5 Tr.• July 20.2012. at 23; Exhibit E.
6 Letter. Ronald L. Kuby. July 20, 2012; Exhibit F.
7 Tr. July 20,2012, at 20-21; Exhibit E.

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have been addressed during these past three months, no forward progress can be
made on the case until the re-imaging and inspection process is complete. 8

      ADA O'Connell also failed to note that despite the passage of more than
twenty-seven months since Ms. Jordan's arrest, the prosecution did not serve a
motion for a DNA sample until May 24,2012. The defense made a preliminary
objection on June 11,2012. However, the prosecution never filed the motion with
the Court; thus, Justice Solomon had nothing before him to decide when the parties
appeared in Court on June 12,2012.9 Without explaining why a motion was
served but not filed, ADA DeLozier stated that she would be filing the motion. to

       The motion was filed on June 13,2012, but the defense was not notified
until the June 29, 2012 court appearance that it had been filed. ll The defense
timely responded on July 20, 2012, and the matter is currently awaiting decision.

       Thus, a fair characterization of the record is that one week after receiving a
stay from this Court, the prosecution engaged in an astonishing pattern of
obstruction, delay, serving papers without filing, filing papers without serving, and
tardy filing that has actually set us back further than we were on May 17, 2012.


      ~..:--z
       RonaldL.~
cc:    Alan M. Dershowitz




8 As Justice Solomon put it, "this is the only way to get from Square One to Square two." Tr.,
June 29, 2012, at 10; Exhibit E.
9 Tr., June 29,2012, at 20-22, Exhibit E.
10 Id. at 22; Exhibit E
11 Id. at 11-17; ExhibitE

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Case 1:14-cv-01485-GAM Document 25 Filed 09/12/12 Page 4 of 27 PageID #: 804
                                            DISTRICT ATTORNEY
                                                        OF THE
                                            COUNTY OF NEW YOIlK
                                             .   ONE HOGAN PLACE
                                                 New York, N. Y. 10013
                                                    (2121335-9000



    CYRUS R. VANCE, JR.
        OunJOOT ATTOIIHEY




                                                          May 24, 2012




 Stephen O. Murphy, Esq.
 Hamilton Financial Center
 9201 Fourth Avenue
 7lh Floor .
 Bay Ridge, NY 11209

                                                     Re: People v. Gigi Jordan
                                                         Indictment No. 0062112010

 Dear Mr. Murphy: .

         Enclosed please find a copy of the OCME certified Lab file for FB 10-00933. I have also
  included a paper copy of my proposed swab order with a notice of motion, emailed to you and
  Mr. Kuby earlier today.
         Your investigators have asked that they be pennitted to examine the various electronic
 devices which are in the custody of our forensic computer analysts. The chain of custody
 protocol of the unit mandates that once removed from their evidence lockers, such p1;Operty
 cannot be returned. The defense has asked that the property be maintained in a secure fashion,
 particularly since the Blackberry devices are "locked." The defense knows the models and serial
 numbers of each device, and it would serve no purpose to disturb the chain of custody to remove
 them for photographs when you are able to view the generic models of each item" via the
 companys' websites. We are therefore unwilling to comply with your request.

                                                          Sincerely,


                                                         ~,
                                                         Kerry O'Connell
                                                         Assistant District Attorney
                                                         212335-4336

cc: jl'on. Charles H. Solomon (WID encl.)
 .vRonald Kuby, Esq. (w/enel.)
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       SUPREME COURT OF THE STATE OF NEW YORK
       COUNTY OF NEW YORK: PART82
       ---------------------------------------.--------------------------x
       THE PEOPLE OF THE STATE OF NEW YORK,                                  DECISION AND ORDER
                                                                             INDICTMENT 621-10
                            -against-

       GIGI JORDAN,                                DEFENDANT
       ------------------------------------------------------------------x
       CHARLES H. SOLOMON, .J.:

                 In a motion filed on June ] 2, 2012, defendant moves pursuant to CPL 240.20(1 )(f) for the
        inspection and testing ofthe electronic devices seized in connection with defendant's arrest. The
       People oppose the defendant's application in a response filed June 25, 2012. Defendant then
       filed a letter in response to the People's opposition on June 26, 2012.
                 CPL 240.20(1)(f) provides that"except to the extent protected by court order, upon
       demand to produce by a defendant against whom an indictment...is pending, the prosecutor shall
       disclose to the defendant and make available for inspection, photographing. copying or
       testing .... (f)any other property obtained from the defendant." Under this provision, defendant is
       entitled to inspect and photograph her electronic devices. The People have expressed concern
       that the contents ofthe devices may be altered if a defense expert is permitted to access the
       drives ofthe electronic devices. In their letter of June 26, 2012, defense counsel suggests ce11ain
       procedures which they contend will alleviate the Peop]e's concerns. Those procedures appear to
       the Coud to be reasonable, logical and practical solutions to the existing problem.
                The People are directed to have their expert mitTor an image ofthe original device in the
       presence ofthe defense expert. That mirrored image will then be provided to the defense expert
       for forensic testing. Additionally, the People are directed to make the devices available for
       photographing. Ifany forensic reports were generated by the People's expel1s in conjunction
       with their examination of the electronic devices, the People are directed to make these reports
       available to the defense. CPL 240.20(1)(c); People v. Sinha, _ NY3d           2012 NY Slip Op
       05123,2012 WL 2399697 (June 27, 2012).
                This opinion constitutes the decision and order of the Court.

      Dated: June 29,2012
            New York, New York
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                                                                           1


   1          SUPREME COURT OF ll-IE STATE OF NEW YORK

   2          COUNTY OF NEW YORK:       CRIMINAL TERM        PART   82
   3          - - - - - - - - - - - - - - - - - - - -          X

   4          ll-IE PEOPLE OF ll-IE STATE OF NEW YORK               Indictment   No.
                                                                    0621/10
   5                         - against ­

   6
   7          GIGI JORDAN,                                          CALENI)l\R CALL

   8
   9                                 Defendant.

  10          - - - - -- - - - - - - - - - - - - - x
              100 Centre Street
  11           NeW York, N • Y •

. J2          DATE HELD:     JUNE   29, 20J2
  13           B E FOR E:

  14                          J-KIDRABLE GlARLES SOLCMl'J,
  15                                       Jus    tic   e.

  16           A P PEA RAN C E S:
                    CYRUS R. VANCE, ESQ.,
  17                DISTRIO'" ATTORNEY, NEW YORK cruNTY
                    BY: KERRY O'CONNELL,
  18                     DAVID SZlJQfv\L\N, and Ml\RIT DELOZIER, ESQS.
                    For the people
  19
                     STEVEN G. MURPHY and RO'WJD KUBY, ESQS.,
  20                 For the Defendant

  21
                                                        Anne Love, CSR,
  22                                              senior Court Reporter

  23
  24
  25
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                                                                            10
                     Am1     6-29-12   JORDAN /    Co11 OClUY

   1        original hard drive, fully krnv it V\Ou1d contaminate
   2         evi dence.     Forensi c i magi ng is the best practi ce that was
    3        introduced by myself to the NYPO when I was appointed the
   4         commanding officer of their computer crimes unit.
    5                     This is for the court, just so the record is
   6         complete, in case they decide to do an Article 78 on this
   7         extraordinary decision.
   8                      THE COURT:        It's highly unlikely I guess.
   9                       But if you want to give that to the Clerk.
  10                      And I'll read it.
  11                      That's NlInber one.
  12                       My decision has been given to the parties in the

  13         case.
  14                      MS. 0' ((}.JNELL:     Thank you for the opportuni ty .
  15                      THE COURT:        And I understand thi sis the only way
  16         to get from Square one to Square ThO. That's the way we're
  17         goi ng to do it. That s one issue.
                                        I



  18                       once thi sis done, then Mr. Mu rphy can conduct hi s
  19         privilege review of all of the other doclJTIents that exist.
  20                       And then we can talk about scheduling and
  21         examination of the defendant.
  22                       SO   that's go; ng to be done after we 1eave today,
  23         between today and the next adjourned date, I hope.
  24                       There's also the issue about that swab order that
  25         the D.A, last time we were here that               wasn't received by me.
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                                                                         18
                      Aml       6-29-12 JORDAN / collCXlUY

   1         served and filed by the people to the motion to suppress
   2        concern-j ng the search warrant.
   3                        we're goi ng to have the defense response served
   4        and fi 1ed in court concerni ng the app1i cati on to take a swab
   5        from the defendant.
   6                        And also, thi rd thi ng, thi s i nspecti on by the
   7        defense expert, I do not want to hear that wasn't done.              I

   8        don't want to be sitting here July 20 and have some
   9        discussion about couldn't be done this day because this
  10         person is not available and she's not available, he's not
  11        available.
  12                        I   want thi s done.
  13                        MS. O'CQ\JNELL:     Your Honor, the defense must
  14         supp1y us wi th new dri ves for any i terns they want m-j rrored .
  15                        THE caJRT: whatever it takes the defense will
  16        gi ve you, whatever you need, you can 1et them kOON.
  17                        Lot of ways to ccmnunicate wi th them.
  18                        MS. 0 I CQ\JNELL:   They knOJll \l\hat they need. They
  19         al ready got it. They knaN to get new copies of those very
  20         items.
  21                        THE COJRT: That should not be a problem.
  22                        MR.    KUBY:   Best BUy is just dOJVn the street from
  23         me.
  24                        THE COJRT: Anything else anyone wants to discuss?
  25                        MR.    KUBY:   Wlat I want to discuss, no.
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                             LAW OFFICE OF RONALD L. KUBY
                                               ATTORNEYS AT             LAw
                                         119 WEST 23'!.~ STREET. SUITE 900
                                            NEW YORK, NEW YORK 10011

                                           TUI:PHONI:: H!12) 529-0223
 RONALD   L.   KUBY                                                                                            STAff
                                              FAX: (2' 2) 529-0644                                          SUSAN BAILEY
 GI!:OROI: WACHTEL                              WWW.KVElVLAW.COM
                                                                                                           PROCESS SERVER
    LEA SPIESS.
                                                                                                            LVIS   R.   AYALA




                                                                                            July 10.2012


        Hon Charles H. Solomon .
        100 Centre Street, Part 82
        New York, New York: 10007
        By Hand

                      Re:   Update on Electronic Discovery in People v. Gigi Jordan. Ind.
                            No. 0621110

        Dear Justice Solomon:

              I write to update you on the status of the electrorllc discovery
        inspection process.

                  Our expert, Richard Perine, attempted to contact Mr. Brittson on the
       morning of July 3, 2012 to inform the latter that we were prepared to meet
       forthwith to begin the photographing, inspection, and forensic analysis of the
       devices. Unfortunately, ADAs Szuchman, O'Connell, and DeLozier did not
       inform Mr. Brittson of the July 20th deadline set by the Court. Mr. Perine
       conveyed this information to Mr. Brittson when he reached him on July 5,
       2012. Due to the unavailability on the law enforcement side, we have been
       forced into the following schedule:

                  July 11, 2012: Photographing.~f~l, de~9es' .
                  July IT·and 19, 2012:' lmaging·of"tl:i~"cofuPuters.

                  Mo(eoY~r,
                         the prosecution has still not approved (despite your Order)
       the imagirig of the ceUphones and BlackBerries, so no date for this has been
       set. We have been toJd ~at, C::)lW,~. ~PPffi~~~~ ;tni~m.ay, e.xt~lld beyond the July
       20, 2012             .. ...; ,.,
                        deadline~                  ,.j"•• ".". . .- -   •   .....   .., -   ..    ..
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              Given the delay now imposed by the apparent staffing shortage at the
      Cybercrime Unit, and the resultant inability to make substantive progress
      within the time set for the next status conference, we question the usefulness
      of the upcoming court date, assuming both sides file their respective papers
      in a timely fashion.

             On the positive side, the lawyers have remained largely sidelined and
      the forensic experts on both sides are working and playing well together.

            I will continue to update ~e Court on the progress of this matter..




            Sincerel '~.

            Ron dL. Kuby

      cc:   ADA Kerry O'Connell
            c:..l>\\\~ a~ (.V\,;\\
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   1    SUPREME COURT: NEW YORK COUNTY
        TRIAL TERM : PART 82
   2    -----------------------------------x
        THE PEOPLE OF THE STATE OF NEW YORK
   3                                                 IND. #:
                                                     00621/2010
   4
                        -against-                    CHARGE:
   5                                                 MURDER2

   6    GIGI JORDAN
                                                    PROCEEDINGS:
   7             Defendant.
   8
                                        100 Centre Street
   9                                    New York, New York 10013
  10
                                        July 20, 2012
  11
  12    B E FOR E:          HONORABLE CHARLES SOLOMON,
                            Justice of the Supreme Court
  13
  14    A P PEA RAN C E S:
  15
        FDR THE PEOPLE:
 16
                       CYRUS R. VANCE, JR., ESQ.
  17                   New York County District Attorney
                       One Hogan Place
 18                    New York, New York 10013
                       BY: KERRY 0' CONNELL, ESQ.
 19                         PATRICIA O'CONNOR, ESQ.
                       Assistant District Attorney
 20
 21     FDR THE DEFENDANT:
 22                    RONALD KUBY, ESQ.
                          -and-
 23                    STEVEN G. MURPHY, ESQ.
                       For the Defendant - Gigi Jordan
 24
 25                                                 Theresa Magniccari
                                                    Senior Court Reporter
                           Theresa Magniccari
                          Senior Court Reporter
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    1                    MS. 0' CONNELL:    No question that you have the
    2          authority to direct it be brought here.
    3                    MR. KUBY:     There is no question but that you have
    4          the legal authority to authorize our expert to do the
    5          re-imaging, and he will do it on his own equipment.          If
    6          they want to watch, if they want to videotape, if they want
    7          notepads with pens to note what he is doing, that's fine.
    8          That's our right.      I am trying to accommodate them.      And
    9          when I try to accommodate them, all I get, you know, is
   10          the game board kicked over allover agaln.
   11                    So that's my proposal.
   12                    THE COURT:    How about the proposal they're making
   13          about sending all of this out to have someone not involved
   14          in this case do this?
   15                    MR. KUBY:    There are   a   couple of problems with
  16           that.
  17                     First of all, it's the defense right to have our
  18          own expert test it, not to send it to an independent third
  19          party testing.
  20                     THE COURT:    So you object?
  21                     MR. KUBY:    I object.   There is actually a reason
  22          for my objection, although I don't need to give a reason to
  23          vindicate my rights.
  24                     THE COURT:    You're right.     No, you don't have to.
  25                    You object to that procedure, sending          to

                            Theresa Magniccari
                          Senior Court Reporter
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    1          somebody else?
    2                    MR. KUBY:     Yes.    Right.
    3                    THE COURT:     The question now is, how is it gOlng
    4          to get done.     Either it's going to get done in the District
    5          Attorney's office or it's going to get done here.         Those
    6          are the only two possibilities, and so the question is
    7          where.
    8                    MR. MURPHY:     Here.
    9                    THE COURT:    Miss O'Connell,        there a problem?
   10         What are we talking about?         We're talking about a computer.
   11         We're talking about some attorneys.
   12                    MS. O'CONNELL:       Various electronic devices.
   13                    THE COURT:    And various electronic devices.
   14                    MS. O'CONNELL:       They get hooked up to various
   15         other electronic devices.          If you were to order that it
   16         take place in this courtroom and they'd be able to
  17          videotape it, we would still have the same objection.
  18                     THE COURT:    You would have the same objection to
  19          the videotape?
  20                     MS. O'CONNELL:       I have a real issue with
  21          happening in this courtroom.
  22                     THE COURT:    Why?
  23                     MS. O'CONNELL:       The thing is that we don't know
  24          how long each of these devices is going to take to image.
                         THE COURT:    We have plenty of time.     We will set

                           Theresa Magniccari
                          Senior Court Reporter
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   1          aside a day, two days, whatever it takes to do it.         She has
   2         to go to trial at some point.       Right now we're going
   3         nowhere fast.
   4                    MS. O'CONNELL:    I want to put one issue before the
   5         Court so the Court understands what I am trying to raise.
   6         Once you begin imaging a computer, you have to wait until
   7         the computer is completely imaged, until the imaging
   8         process is complete.      That could take 24 hours.     Is the
   9         Court suggesting that we're going to have personnel, people
 10          here sitting in the court for 24 hours?
 11                     THE COURT:   No, I'm not.
 12                     MS. O'CONNELL:    That's the reality if this is what
 13          the defense counsel is suggesting, that we have it here.
 14          We can have it in a controlled environment in our office,
 15          which is fine.     To have it up here, you would have to close
 16          down the courtroom for potentially as long as 24 hours as
 17          it would image.
 18                    THE COURT:    How would      be done in the District
 19          Attorney's office if they did it?
 20                    MS. O'CONNOR:     In the District Attorney's office
 21          they could stay there for however long.
 22                    THE COURT:    You can't stop and start the next day,
 23          it has to be done for 24 hours?
 24                    MS. O'CONNOR:     I don't know.    You don't know how
 25          long each device is going to take until you start the

                          Theresa Magniccari
                        Senior Court Reporter
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    1         imaging process.
    2                   MR. RUBY:    Since the People have said they have
    3         done this before, right, this is imaging, they said they
    4         have done it before, one question might be, well, how long
   5          did it take.
   6                    THE COURT:    Miss O'Connell, again, if it does, in
   7          fact, take longer than a court day, I guess we would have
   8          to make provisions for someone to be here on overtime,
   9          someone from the Court, which I guess we can make.
  10          Twenty-four hours is a little bit difficult.
  11                    MS. O'CONNELL:     We're not saying that it's going
  12          to take 24 hours, it could.
  13                    MR. RUBY:    It could.
  14                    MS. O'CONNELL:     Please.
  15                    MR. KUBY:    This is ridiculous f Judge.     Don't you
  16          get tired of being lied to.        Last time we were here it was
  17          four hours.
  18                    THE COURT:    Mr. Kuby f please.

  19                    MR. KUBY:    Now it's 24 hours.
  20                    MS. 0' CONNELL:   Maybe.
  21                    MR. KUBY:    What's really wrong?
 22                     THE COURT:    You're saying this could take longer
 23           than a court day?
 24                     MS. 0' CONNELL:   I don't know.     I wasn't there the
 25           first time it was imaged.

                          Theresa Magniccari
                         Senior Court Reporter
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   1                     THE COURT:   Who was there?
  2                     MS. 0' CONNELL:    The lab technician set the process
  3          up.     I don't know whether they stayed continuously in the
   4         lab with it or whether they kept a log of how long it
  5          took.    We are trying to describe to you that it is not a
  6          stop and start kind of thing, so you should be aware of
  7          that issue.
  8                     THE COURT:    Is that relating to the different
  9          devices or just the computer?         How about the phones?    How
 10          about everything else?
 11                     MS. O'CONNELL:     I am relatively sure they don't
 12          use the same copying devices, so they can do simultaneous
 13          devices.
 14                     MS. O'CONNOR:     It's a simple process for the
 15          phones versus the computer.         I am not putting forth that it
 16          will take 24 hours.      I wanted the Court to be aware of that
 17          potential issue that we have encountered on other forensic
 18          cases.
19                      Regardless of whether it's in this courtroom or
20          done in our office, videotaping, I believe,         lS   an
21          extraordinary measure.
22                      THE COURT:    Videotaping the device?
23                      MS. O'CONNELL:    Yes.
24                      THE COURT:    No one has told me why.
25                      What is the prejudice to anyone, especially the

                          Theresa Magniccari
                         Senior Court Reporter
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      1         prosecution, if someone is videotaping what is done?          I
      2         don't understand.
     3                      MS. O'CONNOR:   There are a number of reasons.
      4                     First of all, I believe that it sets a really bad
     5          precedent to say we are now videotaping.
     6                      I think it's beyond the scope of the Court.
     7                      Second of all, I believe it's a bad precedent, we
     8          are now going to be videotaping everyone of these
     9          processes.
    10                      As Miss O'Connell stated before, are we now going
    11          to allow people to videotape autopsies?        Are we going to
    12          allow videotaping of drug testing?
    13                      I don't believe that this   lS   such an extraordinary
    14          case that it needs to have a videotaping process when we
    15          have witnesses that are there.
    16                      Again, the Court has the cross examination
    17          process, which has worked very well, and I think that it
    18          still should continue.
    19                      So we're proposing, I think, a very reasonable
    20          solution.     That if there is a third party or some outside
    21          source that wants to do videotaping and do the forensic
I 22           processing, that's fine.      We object to having our own

f   23         employees do it.
    24                      THE COURT:   We're not going to resolve this right

t   25         now.

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                            Senior Court Reporter

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        1                    MS.     O'CO~mELL:     We can't make them consent to it.
        2          I think it's unreasonable to tell the technicians in the
        3          Forensic Computer Lab, you must be videotaped doing this
        4         process by the defense.           I think that is an unreasonable
        5         thing to ask them.           They don't want to.
        6                    THE COURT:         They don't want to be videotaped?
        7                    MS. O'CONNELL:         No.
        8                    THE COURT:        Mr. Murphy.
t       9                    IxIR.   MURPHY:     I mean, I would just like to say one
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E
If
,r     10         thing.    You know, you got to ask yourself somewhere along
t
j
f'il   11         here, what's really wrong here with this stuff.           What's
*
I
t
J      12         really wrong?       What did they do wrong and what have they
;,
f
'i     13         messed up that they are fighting against reason so hard and
t
I 14
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                  they are fighting against this process going forward.
!      15         Because all I am thinking to myself, what's really wrong,
rI
                  because unless there is something wrong, unless they did
1 16
I      17
       18
                  something wrong, unless they lost things, unless they
                  messed up, there is no rational reason for their
       19         explanations, their conduct, and it absurd, and it's
t 20              nothing but dilatory in nature, and I really cannot see how
       21         any reasonable person can argue against us asserting our
       22         rights.
       23                   MS. O'CONNELL:         Again, Judge, the fact that they
       24         haven't been able to say there was anything wrong with the


,      25         initial process, Mr. Murphy is right, why are we even doing

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                              Senior Court Reporter
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    1          this.
    2                    THE COURT:    Hold on, please.
    3                    MR. MURPHY:    We're doing this because they did
    4         something wrong, that's my argument.
    5                    THE COURT:    Mr. Murphy and Mr. Kuby, please.
    6                    MR. KUBY:     I am not going to respond to that.
    7                    I want to make our position on the record very
    8         clear.    I keep saying it, they're not responding to it,
    9         they're responding to another position which we passed.
  10          I am not suggesting that their technicians be forced to
  11          come in here and perform their operation in front of the
  12          Court and be videotaped.      I am not suggesting that.      Why
  13          have that argument as to whether you have the authority.
  14                     I am suggesting something far more modest.        Our
  15          technician will come in here, will do the re-imaging.             He
  16          will use his own equipment, or if the District Attorney
  17          wants us to use their equipment, that's fine.         Our guy, our
  18          party, he'll do these things in front of the Court.
  19          they want to watch, that's fine, they can watch our expert
  20          do his work.        they want to videotape our expert, he's
  21          cool with that, they can even do that.
  22                    I am not suggesting you should now compel their
  23          expert to do this.
  24                    So that's my current position.       I am just trying
  25          to deal with this ever shifting pattern of objections.

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            we're not going to corne in when you render a decision.
                        THE COURT:       You're on vacation?
                        MR. MURPHY:       Yes, after the 20th I am back.
                       THE COURT:       After the 20th Judge Roger Hayes will
            be presiding here.          I am not going to have him              over
            the case since he is not familiar with it.
                        We're going to have to adjourn.         If    can't be
            before then, it will be in September for my decisions.
                        Mr. Kuby' s response, August 1st .       It doesn't
                      to me.
                        MR. KUBY:       August 2nd.
                        THE COURT:       It doesn't matter since we're going to
            adjourn to September.
                        The question about this other issue, this other
                     about the copying, imaging, whatever you are talking
            about, this has to be decided.            The question is, how is
            going to be decided and when.
                           you wish to submit something from the defense
            as to your position which you put on the record today, I
            would         it in writing.       The same with the People, put
            your position in writing, and then we'll have to make a
            decision.
                        MR. KUBY:       You want those papers simultaneously
            filed?
                               COURT:    It could be simultaneous.    I think you

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             each know what the other party's objecting to and why.
             There is no need for staggered submissions here.
                        So I would like on that August date, August 2nd,
             we're talking about a date to have papers from both sides
             on this issue.
                        MS. O'CONNELL:     What date?
                        THE COURT:    August 2nd.   If you need another week,
             it's not going to matter since I am not going to decide it
             until September because of scheduling, lawyers' vacations
             and things like that.
                        Do you need more time, prosecution?
                        MS. 0' CONNELL:    No, your Honor.
                        THE COURT:    Mr. Murphy?

                        Mr. Kuby?

                        MR. MURPHY:    No, I am not doing it.
                        THE COURT:     I understand that.
                        MR. KUBY:     What was that date?
                        THE COURT:    August 2nd.
                        So you will have your reply, if any, to the
             People's response filed today.
                        You will have, both sides, your positions in
             writing about these problems that we have with discovery.
                        Then I will have to have a decision on this.
                        MR. MURPHY:    Okay.
                        THE COURT:    And in the interim, In the interim

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 1          I don't want to say you can't try to resolve this.
 2                     MR. MURPHY:       If we can't talk, how can we.
 3                     THE COURT:       You can do this without actually
 4         talking.     You can do it other ways.          If it can be resolved,
 5         the experts can get together and talk about this, if there
 6         is a way to resolve it, that's fine.            If there is not,
 7         that's fine also.
 8                     MR. KUBY:       There are two other issues, Judge, at
 9         least from our perspective.
10                     The first is, when our experts went to photograph
11         the evidence on July 11th, which actually worked, one of
12         the devices, the i-Pod touch, was missing, as in could not
13         be found, missing, and I'm sure the People have located it
14         by now.
15                     I just would like to accomplish all of these
16         things at once rather than constantly coming back so               we
17         can have some status report as to the location of the i-Pod
18         touch.
19                     THE COURT:       Miss 0' Connell.
20                     MS.   O'CONNELL:      I was just informed of this last
21         week.     Honestly, I haven't begun to look for it, so I
22         will.
23                     THE COURT:       Just informed that it was -­
                      MS. 0   I   CONNELL:   Not with the other property.     I am
           pretty sure they were on the same voucher.            For some reason

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   1          it was not with the other property.
   2                      THE COURT:    This was seized from the hotel
   3          room?
   4                      MS. 0' CONNELL:   I don't know which premises,        it
   5          was the hotel room.
   6                      When I have an update, I will make sure to write
   7          Mr. Kubya nice polite letter informing him.
   8                      MR. KUBY:    Right now the status of that is cannot
   9          be found?
                          MS. 0' CONNELL:   It's "unknown" to me.    When I
              know, I will let him know.
                          MR. KUBY:    If we can find some person who might
              know.   We were told that, you know, these things, they're
              put in lockers under special procedures and to take them
              out of a locker, who knows what we risk.        To now discover
              that one of these devices seized pursuant to warrant is
              unknown seems to suggest -- I mean, look, I do think it's
              surprising that they lost one device out of like eight or
             nine.    No, actually for them, that's pretty good.        But
             nonetheless, Judge, given the buildup that you have been
             given about the sacrosanct nature of the process with these
             devices, I would like to know where it is.
                        THE COURT:      Miss O'Connell is going to respond to
             that.    She is saying that she can't respond right now.
   5                    MR. KUBY:      Right.

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                          Senior Court Reporter
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    Hon. Charles H. Solomon
    Supreme Court of the State of New York
    Part 82
    100 Centre St.
    NewYork,NY

    BY HAND

                                                                  July 20, 2012

                          Re: People v. Gigi Jordan. 0621/10

    Dear Justice Solomon:

          I write to request the Court to direct ADA O'Connell to cease her
   interference with the right of the defense to inspect and test Ms. Jordan's electronic
   devices, and to

          As the Court knows, our experts arrived at the Office of the District
   Attorney at 10:00 am on July 17, 2012-the frrst date they could accommodate us.
   Our experts brought cameras and recording devices to document the condition of
   the devices, the apparent chain of custody, and the examinations to be performed,
   as they had during past forensic examinations of evidence. This time, however,
   ADA O'Connell announced a new rule and that she would not permit the
   documentation of the imaging; forcing the defense to choose between an
   examination that did not comport with best practices, or conducting no
   examination at all, pending further court order.

         The reason that experts generally videotape their testing is obvious; if an
   anomaly is found the tape can be reviewed to detennine whether the tester erred in
   performing some step of the examination, or whether the anomaly is genuine.
   Imagine, for example, mixing a complex chemical formula that does not yield the
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   expected result. Rather than starting allover again, a videotape allows the tester to
   make sure all of the steps were properly followed, and in the proper order. This is
   hardly rocket science

          ADA O'Connell has articulated no reason for her latest fit of pique, and no
   reason is apparent. If ADA O'Connell is concerned that the tape may fall into the
   hands of terrorists, thereby revealing the way in which hard drives are re-imaged
   (although a simple Google search has many such depictions), we will agree to
   maintain the video under seal. Without knowing the basis of her objection, we are
   left with trying to respond, ad hoc, to a target which is both moving and invisible.

          The Court should bear in mind that it was the defense that offered to forgo
   our right to independently test the devices to accommodate ADA O'Connell's
   irrational insistence that defense fingers never touch them. Our proposal to have
   the DA's office re-image these devices in the presence of our experts was a good­
   faith effort to address this concern (without crediting it), so that we can fmally
   move forward. For her to now use that substantial concession to impose new
   conditions is intolerable and should not be countenanced.

            ADA 0'Connell's current suggestion-that we use an independent .
   contractor not within the control of the defense-reveals the absolutely baseless
   nature of her earlier objections. If the Court will recall, ADA O'Connell aborted
   the scheduled June 1,2012 inspection based on the truly ridiculous argument that
   once the devices are removed from their evidence lockers, they "cannot be
   returned." O'Connell Ltr., May 24, 2012. The defense wasted the month of June
   litigating the most basic right of discovery and inspection. After the Court ruled in
   our favor on June 29, 2012, ADA Szuchman asserted that bringing the original
   devices out of the lockers was "extraordinary," "never done," and raised grave
   ''risk'' of the devices being "modified... dropped, broken, changed ....." Tr., June
   29,2012. When this Court suggested bringing the devices to the courtroom and
   conduct the re-imaging under the Court's control, ADA Szuchman objected,
   arguing that the testing must be done in' a "controlled environment," Tr., June 29,
   at 9, conjuring up some sci-fi movie image of an isolation chamber inhabited by
   technicians in bulky spacesuits with rebreathers.

          In stark contrast to these depictions, when our forensic team arrived on July
   11, 2012 ~ photograph the devices, the electronic equipment had been thrown into
   one unsealed box: that did not contain any evidence tape or other chain of custody
   indications. And now ADA O'Connell suggests that the items that were hitherto

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   so sensitive that the very act of moving them irreparably modifies them can just be
   packed up and shipped off to a private company.

          The defense would like to adopt the Court's suggestion that the testing be
   conducted in Part 82, and that our experts will observe and videotape. This
   solution will also have the salutary effect of making sure that if ADA O'Connell
   decides to kick over the game board with another new rule (no one may wear blue,
   everyone must say "mother may f' or cannot do anything unless ADA O'Connell
   says "Simon says"), the Court will be available to speedily rule on such
   obstructions. And since it is beyond dispute that this Court has the authority to
   authorize video and still photography in the courtroom, even when it depicts
   ''DANY employeest ' at work,this objection of ADA O'Connell is resolved as well.

          The defense concern is that we will indeed find anomalies that are a product
   of the failure of the NYPD to follow best practices when they were handling these
   devices in 2010. ADA O'Connell, as she is wont to do, will then blame the third­
   party contractor, necessitating a new round of hearings and litigation. Having the
   DA's office redo what they claim they did originally, while we document those
   efforts, will avoid wasting more time and will pinpoint the errors made, if any.

          These concerns are hardly insignificant, given the fact that the District
   Attomets office has already lost one of the devices, the Apple ITouch Device,
   bearing the serial number 1E9470846K2. Seet Memorandum of Law in Support of
   Motion to Suppress, June 29, 2012, at Exhibits B, C, & E. As noted in the
   referenced exhibits, this device was seized along with several other electronic
   devices, pursuant to warrant, on February 5t 2010. However,when our forensic
   team photographed the evidentiary items on July 11, 2012, this device was
   missing. As of this writing, no one has informed us whether it has been located.
   Our forensic team noted that this device was described as being a "biohazard" and
   accordingly, was not accepted for testing by the DA's cyber unit. When the DA's
   office is able to locate this item, we will need documentation as to chain of
   custody. And our experts will have to inspect and test this item once it is located.
   The current MIA status of this item hardly inspires confidence that the other items
   were handled properly.

        Last, notwithstanding this Court's June 29, 2012 order that the DA's office
  provide us with all forensic reports, the prosecution has failed to do so.
  Specifically, it appears that the NYPD computer unit was playing with these
  devices before they were provided to the DA's office, engaging in some forensic
  examination of their own. We have learned that these NYPD reports were just
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   recently provided to the DA's office (during the past week), and these are
   incomplete. We require full compliance with this Court's order before our part of
   this process can be completed.

          Over the past two months. Ms. Jordan has been forced to waste funds on
   experts whose work ADA O'Connell has obstructed at the last moment. Expensive
   attorney time that should have been spent preparing for trial has been squandered
   to obtain rulings over issues that we should not have been forced to litigate. And
   when we prevail, ADA O'Connelljust finds a new way to circumvent this Court's
   rulings. We implore the Court to direct that the electronic devices, and the relevant
   dramatis personae, be brought to Part 82 so that we can get this done.

         Sincerel~,      ..--->
      ~~
         Ronald L. Kuby




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